873 F.2d 1439Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Bruce Lamont MCNEIL, Plaintiff-Appellant,v.Superintendent HAYES, Disciplinary Board, Defendants-Appellees.
    No. 89-7051.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 28, 1989.Decided April 27, 1989.
    
      Bruce Lamont McNeil, appellant pro se.
      Lacy Herman Thornburg, Attorney General, Sylvia Hargett Thibaut, Office of the Attorney General, for appellees.
      Before K.K. HALL and PHILLIPS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Bruce Lamont McNeil appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  McNeil v. Hayes, C/A No. 88-224-CRT (E.D.N.C. Jan. 25, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    